           Case 18-12947 Doc 5 Filed 11/04/18 Entered 11/04/18 08:45:03 Main Document Page 1 of 6
  Fill in this information to identify your case:
  Debtor 1             Helen                 J                      Drouillard
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA

  Case number
  (if known)                                                                                                           Check if this is an
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                                Unknown            Unknown              Unknown
Internal Revenue Service
Priority Creditor's Name                                   Last 4 digits of account number
PO Box 7346                                                When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                            Contingent
Philadelphia                    PA      19101-7346          Unliquidated
City                            State   ZIP Code            Disputed
Who incurred the debt?     Check one.                      Type of PRIORITY unsecured claim:
 Debtor 1 only                                             Domestic support obligations
 Debtor 2 only                                             Taxes and certain other debts you owe the government
 Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
 At least one of the debtors and another                     intoxicated
    Check if this claim is for a community debt
                                                            Other. Specify
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
           Case 18-12947 Doc 5 Filed 11/04/18 Entered 11/04/18 08:45:03 Main Document Page 2 of 6

Debtor 1       Helen J Drouillard                                                               Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                            $366.29
Choice Health Care                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
515 Missouri Ave North
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
Largo                           FL      33770
                                                             Disputed
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                             Student loans
                                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                                that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
      Check if this claim is for a community debt               Medical
Is the claim subject to offset?
 No
 Yes
     4.2                                                                                                                                          $5,779.79
Honor Credit Union                                          Last 4 digits of account number         0     0    2    6
Nonpriority Creditor's Name
                                                            When was the debt incurred?           4/2010
8385 Edgewood Dr.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
Berrien Springs                 MI      49103
                                                             Disputed
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                             Student loans
 Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                                that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
      Check if this claim is for a community debt
Is the claim subject to offset?
    No
    Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
          Case 18-12947 Doc 5 Filed 11/04/18 Entered 11/04/18 08:45:03 Main Document Page 3 of 6

Debtor 1       Helen J Drouillard                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.

   4.3                                                                                                                            Unknown
Honor Credit Union                                       Last 4 digits of account number       0    0    2    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2014
8385 Edgewood Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Berrien Springs               MI      49103
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Auto deficiency
Is the claim subject to offset?
 No
 Yes
   4.4                                                                                                                            $8,203.00
Honor Credit Union                                       Last 4 digits of account number       0    0    2    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        Various
8385 Edgewood Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Berrien Springs               MI      49103
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
 No
 Yes
   4.5                                                                                                                              $226.00
Honor Credit Union                                       Last 4 digits of account number       0    0    2    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        Various
8385 Edgewood Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Berrien Springs               MI      49103
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Overdraft
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 3
          Case 18-12947 Doc 5 Filed 11/04/18 Entered 11/04/18 08:45:03 Main Document Page 4 of 6

Debtor 1       Helen J Drouillard                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.

   4.6                                                                                                                            Unknown
Internal Revenue Service                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        Various
PO Box 7346
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Philadelphia                  PA      19101-7346
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Tax debt (nonpriority portion)
Is the claim subject to offset?
 No
 Yes
   4.7                                                                                                                               $88.00
Northshore Redi-Med                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2018
PO Box 54854
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
New Orleans                   LA      70154-4854
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical
Is the claim subject to offset?
 No
 Yes
   4.8                                                                                                                              $116.00
Preferred Collection                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2017
1000 N Ashley Dr #600
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Tampa                         FL      33602
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collecting for -Watson Clinic
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 4
         Case 18-12947 Doc 5 Filed 11/04/18 Entered 11/04/18 08:45:03 Main Document Page 5 of 6

Debtor 1       Helen J Drouillard                                                          Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Fifth Third Bank                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
5050 Kingsley Dr                                            Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Cincinnati                      OH      45263
City                            State   ZIP Code


Watson Clinic                                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1600 Lakeland Hills Blvd                                    Line   4.8 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Lakeland                        FL      33804
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 5
       Case 18-12947 Doc 5 Filed 11/04/18 Entered 11/04/18 08:45:03 Main Document Page 6 of 6

Debtor 1       Helen J Drouillard                                                       Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

Total claims       6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                   6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                   6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                                Total claim

Total claims       6f.   Student loans                                                                6f.                     $0.00
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $14,779.08


                   6j.   Total.   Add lines 6f through 6i.                                            6j.             $14,779.08




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                      page 6
